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                                                            34 PageID
                                                           SHERRI      #: 11
                                                                  ADELSTEIN
                                                                  ADELSTEIN
                                                                             Denton County District Clerk
                                                                             By:
                                                                             By: Cameron
                                                                                 Cameron Welter, Deputy


                                               17-7094-393
                                               17-7094-393
                                    CAUSE NO. ___________

VALLEYRIDGE SQUARE, LLC                           §§            IN THE DISTRICT COURT OF
  Plaintiff                                       §§
                                                  §§
v.
V.                                                §§             _____ JUDICIAL DISTRICT
                                                  §§
SENECA INSURANCE COMPANY, INC.                    §§
  Defendant                                       §§             DENTON COUNTY, TEXAS




                             PLAINTIFF’S
                             PLAINTIFF ’8 ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, VALLEYRIDGE SQUARE, LLC (hereinafter collectively referred to as
                                                                                 as


“Valleyridge Square, LLC” or
“Valleyridge Square,      or “Plaintiff”),                Plaintiff’s Original Petition,
                             “Plaintiff”), and files this Plaintzfj‘"s

                                         INC. (“Seneca”
complaining of SENECA INSURANCE COMPANY, INC. (“Seneca” or
                                                        or “Defendant”),
                                                           “Defendant”), and for

cause
cause of action, Plaintiff would respectfully show this honorable Court the following:
                                                                            following:

                                  DISCOVERY CONTROL PLAN

1.
1.      Plaintiff intends discovery in this case
                                            case be conducted under the provisions of Texas Rule

        of Civil
           CiVil Procedure 190.4
                           190.4 (Level 3),
                                        3), and request that the Court enter an
                                                                             an appropriate


        scheduling order.

                                            PARTIES

2.
2.      Plaintiff, Valleyridge Square,
                               Square, LLC is
                                           is aa Texas limited liability company.
                                                                         company.

3.
3.      Defendant Seneca
                  Seneca is
                         is a
                            a foreign insurance company registered with the Texas Department


        of Insurance engaging in the business
                                     business of insurance in the State of Texas. The Defendant

        may
        may be
            be served With
                      with process by
                                   by serving its registered agent,
                                                             agent, Mr. James
                                                                        James Isbell, 11 Riverway,

        Suite 1400,
              1400, Houston, Texas 77056-1988.
                                   77056-1988.




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                                   JURISDICTION
                                   JURISDICTION AND VENUE

4.
4.      The Court has
                  has jurisdiction over this cause of action because
                                                             because the amount in controversy is

        within the jurisdictional limits of the Court. Plaintiff is seeking monetary relief over
        Within

        $200,000 but not over $1,000,000, including damages of any
                                                               any kind, penalties, costs,
                                                                                    costs,

        expenses, pre-judgment interest,
                               interest, and
                                         and attorneys’
                                             attorneys’ fees.
                                                        fees. Plaintiff reserve the right to amend

        the petition during or after the discovery process.

5.
5.      The Court has
                  has jurisdiction over Defendant because
                                                  because this Defendant engages in the

        business of insurance in the State of Texas, and Plaintiff’s
                                                         Plaintiff’s causes
                                                                     causes of action arise out of

        this Defendant’s business
                         business activities
                                  activities in
                                             in the
                                                the State
                                                    State of
                                                          of Texas.
                                                             Texas.

6.
6.      Venue is proper in Denton County, Texas, because
                                                 because the insured property
                                                                     propeny at
                                                                              at issue is

        situated in this county and the events giving rise to this lawsuit occurred in this county.

                                              FACTS

7.
7.                                                       CMP4800461 (hereinafter
        Plaintiff is the owner of Texas insurance policy CMP4800461 (hereinafter the
                                                                                 the “Policy”),
                                                                                     “Policy”),

        which was issued by
                         by Defendant.
                            Defendant.

8.
8.      Plaintiff owns the insured propeny,
                                   property, which is specifically located at
                                                                           at 1490
                                                                              1490 Valleyridge

        Blvd., LeWiSVille, Texas 75077 (hereinafter
        BlVd., Lewisville,             (hereinafter the
                                                    the “Property”).
                                                        “Property”).

9.
9.      Defendant sold the Policy to Plaintiff insuring the Property.
                                                            Property.

10.
10.     On or about March 29,
                          29, 2013, Wind
                                    wind and hail caused severe structural and exterior damage

        to the insured Property.
                       Property.

11.
11.     Plaintiff submitted aa claim to Defendant against the Policy for damages which
                                                                                 Which the

        Property sustained as
                           as a
                              a result of the hail and windstorm.
                                                       Windstorm. Upon information and belief,

        Defendant assigned number 14AAN371
                                  14AAN371 for the claim.




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12.
12.     Plaintiff asked that Defendant cover the cost of repairs to the Property, pursuant to the

        Policy. In aa letter dated June 2,
                                        2, 2016, Seneca closed the claim.

13.
13.     Defendant set
                  set about to deny and/or
                                    and/0r underpay on properly covered damages. As aa result

        of
        of Defendant’s unreasonable investigation
           Defendant’s unreasonable investigation of
                                                  of the
                                                     the claim,
                                                         claim, including
                                                                including not providing full
                                                                          not providing full

        coverage for the damages sustained by
                                           by Plaintiff, as
                                                         as well as
                                                                 as under-scoping the damages


        during its investigation and thus denying adequate and sufficient
                                                               sufﬁcient payment to Plaintiff to

        repair the Property, Plaintiff’s
                             Plaintiff’s claim was improperly adjusted.         The mishandling of

        Plaintiff’s
        Plaintiff’s claim has             a delay in Plaintiff’s
                          has also caused a          Plaintiff’s ability to fully repair the Property,

        which has
              has resulted in additional damages. To this date,
                                                          date, Plaintiff has yet to receive the
                                                                          has yet

        full payment to which it is entitled under the Policy.
                                                       Policy.

14.
14.     As detailed in the paragraphs below, Defendant wrongfully denied Plaintiff’s claim for

        repairs of the Property, even though the Policy provided coverage for losses such as
                                                                                          as those


        suffered by Plaintiff. Furthermore, Defendant underpaid some of Plaintiff’s claims by
                                                                                           by

        not providing full coverage for the damages sustained by
                                                              by Plaintiff, as
                                                                            as well as
                                                                                    as under-


        scoping the damages during its investigation.
                                       investigation.

15.
15.     To date,
           date, Defendant continues to delay in the full payment for the damages to the

        Property.
        Property. As such,
                     such, Plaintiff has not been paid in full for the damages to the Property.
                                                                                      Property.

16.
16.     Defendant failed to perform its contractual duties to adequately compensate Plaintiff

        under the terms of the Policy. Specifically, it refused to pay
                                                                   pay the full proceeds of the

        Policy, although due demand was
                                    was made for proceeds to be paid in an amount sufficient
                                                                                  sufﬁcient to

        cover the damaged Property,
                          Propeny, and all conditions precedent to recovery upon the Policy had

        been carried out and accomplished by the Plaintiff. Defendant’s
                                                            Defendant’s conduct constitutes aa

        breach of the insurance contract between Defendant and Plaintiff.




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17.
17.     Defendant misrepresented to Plaintiff that certain damage to the Property was
                                                                                  was not

        covered under the Policy, even though the damage was
                                                         was caused by
                                                                    by aa covered occurrence.
                                                                                  occurrence.

        Defendant’s
        Defendant’s conduct
                    conduct constitutes
                            constitutes aa violation
                                           Violation of
                                                     of the
                                                        the Texas
                                                            Texas Insurance
                                                                  Insurance Code,
                                                                            Code, Unfair
                                                                                  Unfair

        Settlement Practices. TEX. IINS.
                              TEX.   NS. C ODE §541.060(a)(1).
                                         CODE

18.
18.     Defendant failed to make an attempt to settle Plaintiff’s claim in aa fair manner, although

        they were aware of their liability to Plaintiff under the Policy. Defendant’s
                                                                          Defendant’s conduct
                                                                                      conduct

        constitutes aa violation
                       Violation of the Texas Insurance Code, Unfair Settlement Practices.
                                                                                Practices. T EX.
                                                                                           TEX.

        IINS.
          NS. C ODE §541.060(a)(2)(A).
              CODE  §541.060(a)(2)(A).

19.
19.     Defendant failed to explain to the Plaintiff the reasons for their offer of an inadequate

        settlement.
        settlement.   Specifically, Defendant failed to offer Plaintiff adequate compensation,

        without any
        Without any or adequate explanation why
                                            Why full payment was not being made.

        Furthermore, Defendant did not communicate that any
                                                        any future settlements or payments

              be forthcoming to pay
        would be                pay for the entire losses covered under the Policy, nor did they

                any or adequate explanation for the failure to adequately settle Plaintiff’s
        provide any                                                              Plaintiff’ 5 claim.

        Defendant’s
        Defendant’s conduct
                    conduct is
                            is aa Violation
                                  violation of
                                            of the
                                               the Texas
                                                   Texas Insurance
                                                         Insurance Code,
                                                                   Code, Unfair
                                                                         Unfair Settlement
                                                                                Settlement

        Practices. TEX. IINS.
                   TEX.   NS. C ODE §541.060(a)(3).
                              CODE  §541.060(a)(3).

20.     Defendant failed to affirm or deny coverage of Plaintiff’s claim within
                                                                         Within aa reasonable time.

        Specifically,
        Speciﬁcally, Plaintiff did not receive timely indication of acceptance or rejection,

        regarding
        regarding the
                  the full
                      full and
                           and entire
                               entire claim,
                                      claim, in writing from
                                             in writing from Defendant.
                                                             Defendant. Defendant’s
                                                                        Defendant’s conduct
                                                                                    conduct

        constitutes aa violation
                       Violation of the Texas Insurance Code, Unfair Settlement Practices.
                                                                                Practices. T EX.
                                                                                           TEX.

        IINS.
          NS. C ODE §541.060(a)(4).
              CODE

21.     Defendant refused to fully compensate Plaintiff, under the terms of the Policy, even

        though Defendant failed to conduct aa reasonable investigation.
                                                         investigation. Specifically,
                                                                        Speciﬁcally, Defendant




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        performed an outcome-oriented investigation of Plaintiff’s claim, which resulted in aa

        biased, unfair, and inequitable evaluation of Plaintiff’s losses on the Property.
        biased,                                                                 Property.

        Defendant’s
        Defendant’s conduct constitutes aa Violation
                                           violation of the Texas Insurance Code,
                                                                            Code, Unfair

        Settlement Practices. TEX. IINS.
                              TEX.   NS. C ODE §541.060(a)(7).
                                         CODE  §541.060(a)(7).

22.     Defendant failed to meet its obligations under the Texas Insurance Code regarding timely

        acknowledging
        acknowledging Plaintiff’s
                      Plaintiff’s claim, beginning an
                                                   an investigation of Plaintiff’s claim, and

        requesting all information reasonably necessary to investigate Plaintiff’s claim, Within
                                                                                          within the

        statutorily mandated time of receiving notice of Plaintiff’s claim. Defendant’s
                                                                            Defendant’s conduct

        constitutes aa Violation
                       violation of the Texas Insurance Code, Prompt Payment of Claims. T EX.
                                                                                        TEX.

        IINS.
          NS. C ODE §542.055.
              CODE  §542.055.

23.     Defendant failed to accept or deny Plaintiff’s full and entire claim within
                                                                             Within the statutorily

                                                 information. Defendant’s
        mandated time of receiving all necessary information. Defendant’s conduct constitutes aa

        violation of the Texas Insurance Code, Prompt Payment of Claims. T
        Violation                                                         EX. IINS.
                                                                         TEX.   NS. C ODE
                                                                                    CODE

        §542.056.
        §542.056.

24.     Defendant failed to meet its obligations under the Texas Insurance Code regarding

        payment of claim Without
                         without delay. Specifically,   has delayed full
                                        Speciﬁcally, it has              payment of
                                                                    full payment of Plaintiff’s
                                                                                    Plaintiff’ 5

        claim longer than allowed and,
                                  and, to date,
                                          date, Plaintiff has not received full payment for the

        claim. Defendant’s
               Defendant’s conduct constitutes aa Violation
                                                  violation of the Texas Insurance Code, Prompt

        Payment of Claims. TEX. IINS.
                           TEX.   NS. C ODE §542.058.
                                      CODE

25.     From and after the
                       the time
                           time Plaintiff’s
                                Plaintiff’s claim was presented to Defendant, the liability of

        Defendant to pay
                     pay the full claim in accordance with the terms of the Policy was reasonably

        clear.
        clear. However, Defendant has
                                  has refused to pay
                                                 pay Plaintiff in full, despite there being no

        basis whatsoever on which aa reasonable insurance company would have relied to deny
        basis




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        the full payment. Defendant’s
                          Defendant’s conduct constitutes aa breach of the common law duty of

        good faith and fair dealing.

26.     Defendant knowingly or recklessly made false representations, as
                                                                      as described above,
                                                                                   above, as
                                                                                          as to


        material facts and/or
                       and/0r knowingly concealed all or part of material information from

        Plaintiff.

27.     As
        As aa result
              result of
                     of Defendant’s
                        Defendant’s wrongful
                                    wrongful acts
                                             acts and
                                                  and omissions,
                                                      omissions, Plaintiff was forced to retain the
                                                                 Plaintiff was

        professional services of the attorney and law firm
                                                      ﬁrm for representation with respect to these

        causes
        causes of action.
                  action.

                                       CAUSES OF ACTION

28.     Defendant is liable to Plaintiff for intentional breach of contract, as
                                                                             as well as
                                                                                     as intentional


        violations of the Texas Insurance Code and Deceptive Trade Practices Act, and
        Violations

                           of the common law duty of good faith and fair dealing.
        intentional breach of

                                   BREACH OF CONTRACT

29.     The Policy is aa valid, binding, and enforceable contract between Plaintiff and Defendant.

30.     Defendant’s
        Defendant’s conduct
                    conduct constitutes
                            constitutes aa breach
                                           breach of
                                                  of the
                                                     the insurance
                                                         insurance contract
                                                                   contract made between
                                                                            made between

        Defendant and Plaintiff.
                      Plaintiff.

31.     Defendant’s
        Defendant’s failure
                    failure and/or
                            and/0r refusal,
                                   refusal, as
                                            as described
                                               described above,
                                                         above, to pay the
                                                                to pay the adequate compensation

        as
        as it is obligated to do under the terms of the Policy in question, and under the laws of the


        State of Texas, constitutes aa breach of Defendant’s
                                                 Defendant’s insurance contract with Plaintiff.

32.     The Defendant’s breach proximately caused Plaintiff’s injuries and damages.
            Defendant’s breach                                             damages.

33.     All conditions precedent required under the Policy have been performed, excused,

        waived, or otherwise satisfied
                             satisﬁed by
                                       by the Plaintiff.




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                  NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                        UNFAIR
                        UNF AIR SETTLEMENT PRACTICES

34.     Defendant’s
        Defendant’s conduct constitutes multiple Violations
                                                 violations of the Texas Insurance Code,
                                                                                   Code, Unfair

        Settlement Practices. T EX. IINS.
                              TEX.    NS. C ODE §541.060(a). All violations
                                          CODE                   Violations under this article are
                                                                                               are

        made actionable by
                        by T EX. IINS.
                           TEX.    NS. C ODE §541.151.
                                       CODE  §541.151.

35.     Defendant’s
        Defendant’s unfair settlement practice, as
                                                as described above,
                                                             above, of misrepresenting to Plaintiff

        material facts relating to the coverage at
                                                at issue,
                                                   issue, constitutes an unfair method of

        competition and an
                        an unfair and deceptive act or practice in the business of insurance. T EX.
                                                                                              TEX.

        IINS.
          NS. C ODE §541.060(a)(1).
              CODE

36.     Defendant’s unfair settlement practices, as
                                                 as described above,
                                                              above, of failing to attempt in good

        faith to effectuate aa prompt, fair, and equitable settlement of the claim, even though

        Defendant’s liability under the Policy was reasonably clear, constitutes an unfair method

        of competition and an unfair and deceptive act or practice in the business of insurance.

        TEX. IINS.
        TEX.   NS. C ODE §541.060(a)(2)(A).
                   CODE  §541.060(a)(2)(A).

37.     Defendant’s
        Defendant’s unfair settlement practices, as
                                                 as described above,
                                                              above, of failing to promptly

        provide Plaintiffs with aa reasonable explanation of the basis in the Policy, in relation to

        the facts or applicable law, for its offer of aa compromise settlement of the claim,

        constitutes an unfair method of competition and an unfair and deceptive act or practice in

        the business of insurance.
                        insurance. TEX. IINS.
                                   TEX.   NS. C ODE §541.060(a)(3).
                                              CODE  §541.060(a)(3).

38.     Defendant’s
        Defendant’s unfair settlement practices, as
                                                 as described above,
                                                              above, of failing Within
                                                                                within aa reasonable

        time to affirm
                afﬁrm or deny coverage of the claim to Plaintiffs, or to submit aa reservation of

        rights to Plaintiff, constitutes an
                                         an unfair method of competition and an unfair and


        deceptive act or practice in the business of insurance.
                                                     insurance. TEX. IINS.
                                                                TEX.   NS. C ODE §541.060(a)(4).
                                                                           CODE  §541.060(a)(4).




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39.     Defendant’s
        Defendant’s unfair settlement practices, as
                                                 as described above,
                                                              above, of refusing to pay
                                                                                    pay Plaintiff’s

        claim without
              Without conducting aa reasonable investigation, constitutes an
                                                                          an unfair method of

        competition and an
                        an unfair and deceptive act or practice in the business of insurance. T EX.
                                                                                              TEX.

        IINS.
          NS. C ODE §541.060(a)(7).
              CODE  §541.060(a)(7).

40.     Each of the foregoing unfair settlement practices were completed knowingly by
                                                                                   by the

        Defendant, and were aa producing
                               producing cause
                                         cause of
                                               of Plaintiff’s
                                                  Plaintiff’ s injuries and damages.

                  NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                       THE PROMPT PAYMENT OF CLAIMS

41.     The Claim is aa claim
                        Claim under an
                                    an insurance policy with the Defendant of which Plaintiff


        gave
        gave proper
             proper notice.
                    notice.       The
                                  The Defendant
                                      Defendant is
                                                is liable
                                                   liable for
                                                          for the
                                                              the Claim.
                                                                  Claim.       Defendant’s
                                                                               Defendant’s conduct

        constitutes multiple Violations
                             violations of the Texas Insurance Code,
                                                               Code, Prompt Payment of Claims.

        All Violations
            violations made under this article are made actionable by
                                                                   by T EX. IINS.
                                                                      TEX.    NS. C ODE §542.060.
                                                                                  CODE  §542.060.

42.     Defendant’s
        Defendant’s failure to acknowledge receipt of Plaintiff’s claim, commence investigation

        of the claim, and/or
                      and/0r request from Plaintiff all items, statements, and forms that it

        reasonably believed would be required within
                                              Within the applicable time constraints, as
                                                                                      as


        described above,
                  above, constitutes aa non-prompt payment of claims and aa Violation
                                                                            violation of TEX. IINS.
                                                                                         TEX.   NS.

        C ODE §542.055.
        CODE

43.     Defendant’s
        Defendant’s failure
                    failure to
                            to notify
                               notify Plaintiff
                                      Plaintiff in writing of
                                                           of its acceptance or rejection of the claim

        within the applicable time constraints, constitutes aa non-prompt payment of the claim.
        Within

        TEX. IINS.
        TEX.   NS. C ODE §542.056.
                   CODE  §542.056.

44.     Defendant’s
        Defendant’s delay of the payment of Plaintiff’s claim following its receipt of all items,

        statements, and forms reasonably requested and required, longer than the amount of time

        provided for, as
                      as described above, constitutes a
                                                      a non-prompt payment of the claim. T EX.
                                                                                         TEX.

        IINS.
          NS. C ODE §542.058.
              CODE  §542.058.



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45.     Each of the foregoing unfair settlement practices were completed knowingly by the

        Defendant, and were aa producing cause of Plaintiffs’
                                                  Plaintiffs’ injuries and damages.

             BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

46.     The Defendant breached the common law duty of good faith and fair dealing owed to

        Plaintiff by
                  by denying or delaying payment on the Claim when Defendant knew or should

        have known that liability was reasonably clear.

47.     Defendant’s
        Defendant’s failure, as
                             as described above,
                                          above, to adequately and reasonably investigate and

        evaluate Plaintiff’s claim, although, at that time, Defendant knew or should have known

        by the exercise of reasonable diligence that its liability was reasonably clear, constitutes aa
        by

        breach of the duty of good faith and fair dealing.

48.     Defendant’s
        Defendant’s conduct
                    conduct proximately caused Plaintiffs’
                                               Plaintiffs’ injuries and damages.
                                                                        damages.

             VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

49.     Defendant’s conduct violated the Texas Deceptive Trade Practices Act, TEX. BUS. &

        COM. CODE §§ 17.41,    seq. (hereinafter the “DTPA”) by
                     17.41, et seq.                          by engaging
                                                                engaging in
                                                                         in “false,
                                                                            “false, misleading
                                                                                    misleading

        or
        or deceptive
           deceptive acts
                     acts and practices.”
                          and practices.”

50.     Plaintiff is aa “consumer”
                        “consumer” in
                                   in that
                                      that Plaintiff
                                           Plaintiff acquired goods and/or services by purchase,
                                                                                       purchase, and

        the goods and/or services form the basis of this action.

51.     The Defendant committed numerous violations
                                         Violations of the Texas DTPA, insofar as
                                                                               as Defendant:
                                                                                  Defendant:

        a)
        a)      Represented that goods or services have sponsorship, approval, characteristics,
                ingredients, uses, benefits, or quantities which they do not have;
                             uses, beneﬁts,

        b)
        b)      Represented that an agreement confers or involves rights, remedies, or obligations
                which it does not have or involve, or which are prohibited by law;

        c)
        0)      Failed to disclose information concerning goods or services which was known at
                the time of the transaction when such failure to disclose such information was
                intended to induce the consumer into aa transaction into which the consumer would
                not have entered had the information been disclosed;



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        d)
        d)      Generally engaged in unconscionable courses of action while handling the Claim;
                and/or

        e)
        6)      Violated the provisions of the Texas Insurance Code described herein.

52.     The Defendant took advantage of the Plaintiff’s lack of knowledge, ability, experience or

                                                        Plaintiff’ s detriment. The
        capacity to aa grossly unfair degree and to the Plaintiff’s             The Defendant’s
                                                                                    Defendant’s acts
                                                                                                acts

        also resulted in aa gross disparity between the value received and the consideration paid in

                                                 consideration. As
        aa transaction involving the transfer of consideration. As aa result
                                                                      result of
                                                                             of the
                                                                                the Defendant’s
                                                                                    Defendant’s

        violations of the DTPA, Plaintiff suffered actual damages. In addition, the Defendant
        Violations

        committed the above acts knowingly and/or intentionally, entitling Plaintiff to three times

        Plaintiff’s
        Plaintiff’ s damages for economic relief.

                                            DAMAGES

53.     Upon the trial of this case,
                               case, it shall be shown Plaintiff sustained damages as
                                                                                   as a
                                                                                      a result of


        Defendant’s conduct.
                    conduct. Plaintiff respectfully requests the Court and jury award the amount

                          has incurred in the past and will incur in the future.
        of loss Plaintiff has                                            future. There are certain

        elements of damages to be considered separately and individually for the purpose of

        determining the sum of money that would fairly and reasonably compensate Plaintiff for

        injuries, damages, and losses,
                               losses, incurred and to be incurred.          From the date of the

        occurrence in question until the time of
                                              of trial of this cause,
                                                               cause, Plaintiff seeks every element of
                                                                                                    of

        damage allowed by
                       by Texas law with respect to the causes
                                                        causes of action mentioned above,
                                                                                   above,

        including but not limited to Plaintiff’s
                                     Plaintiff’ 5 actual damages, policy benefits, pre-judgment

        interest, post-judgment interest,
                                interest, consequential
                                          consequential damages,
                                                        damages, court
                                                                 court costs,
                                                                       costs, attorneys’
                                                                              attorneys’ fees,
                                                                                         fees,

        treble damages, statutory interest, and exemplary damages.

54.     Plaintiff would show that all of the aforementioned acts,
                                                            acts, taken together or singularly,

        constitute the producing causes
                                 causes of the damages sustained by Plaintiff.




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55.     The damages caused by hail and/or wind have not been properly addressed or repaired in
                                   and/0r Wind

        the months since the storm, causing further damages to the Property, and causing undue

        hardship and burden to Plaintiff. These damages are a direct result of Defendant’s
                                                        are a                  Defendant’s

        mishandling of Plaintiff’s
                       Plaintiff’ 5 claim in Violation
                                             violation of the laws set forth above.

56.     For breach of contract, Plaintiff is entitled to regain the beneﬁt
                                                                    benefit of the bargain, which is

        the amount of the claim,
                          claim, together with attorney’s
                                 together with attorney’s fees
                                                          fees and pre-judgment interest.

57.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

        is entitled to actual damages, which include the loss of the benefits that should have been

        paid pursuant to the policy, mental anguish, court costs,
                                                           costs, and attorney's fees.
                                                                                 fees. For knowing

        conduct of the acts described above,
                                      above, Plaintiff asks
                                                       asks for three times actual damages. T EX.
                                                                                            TEX.

        IINS.
          NS. C ODE §541.152.
              CODE  §541.152.

58.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

        entitled to the claim amount, as
                                      as well as
                                              as eighteen (18)
                                                          (18) percent interest per annum on the

        amount of such claim as
                             as damages, together with attorney's fees.               TEX. IINS.
                                                                                      TEX.   NS. C ODE
                                                                                                 CODE

        §542.060.
        §542.060.

59.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

        compensatory damages, including all forms of                                          of
                                                  of loss resulting from the insurer's breach of

        duty,
        duty, such as
                   as additional costs,
                                 costs, economic hardship, losses due to nonpayment of the

        amount the insurer owed, exemplary damages, and damages for emotional distress.

60.     For violations
            Violations of the Deceptive Trade Practices Act, Plaintiff is entitled to recover actual

        damages and up
                    up to
                       to three
                          three times
                                times Plaintiff’s
                                      Plaintiff’ s damages for economic relief, along with

        attorney’s fees,
                   fees, interest
                         interest and
                                  and court
                                      court costs.
                                            costs.




PLAINTIFFS’’ O
PLAINTIFFS     RIGINAL P
             ORIGINAL   ETITION
                       PETITION                                                           Page 11
                                                                                               11 of
                                                                                                  0f 13
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 14 of 34 PageID #: 22



61.     For the prosecution and collection of this claim, Plaintiff has
                                                                    has been compelled to engage

        the services of the attorney whose
                                     Whose name is subscribed to this pleading. Therefore,

        Plaintiff is entitled to recover aa sum for the reasonable and necessary services of

        Plaintiff’s attorney in the preparation and trial of this action, including any
                                                                                    any appeals to the

        Court of Appeals and/or the Supreme Court of Texas.
                                                     Texas.

62.     Plaintiff is not making any
                                any claims for relief under federal law.

                                          JURY DEMAND

63.     Plaintiff requests aa jury trial, and have tendered any
                                                            any and all requisite fees for such along

        with the filing
                 ﬁling of this Plaintiff’s
                               Plaintzfj‘"s Original Petition.

                                  REQUEST FOR DISCLOSURE

64.     Pursuant to Rule 194
                         194 of the Texas Rules of Civil
                                                   CiVil Procedure, Defendant is requested to

        disclose, Within
                  within fifty (50)
                               (50) days
                                    days of service of this request, the information described in

        Rule 194.2(a)-(l).
             194.2(a)-(l).

                                              PRAYER

        WHEREFORE, Plaintiff respectfully requests that final         be rendered for the
                                                        ﬁnal judgment be

Plaintiff as
          as follows:


        1)
        1) Judgment against Defendant for actual damages in an amount to be
                                                                         be determined by the
           jury;

        2)
        2) Statutory beneﬁts;
                     benefits;

        3)
        3) Treble damages;

        4)
        4) Exemplary and punitive damages;

        5)
        5) Pre-judgment interest as
                                 as provided by law;


        6)
        6) Post-judgment interest as
                                  as provided by law;


        7) Attorneys’
        7) Attorneys’ fees;
                      fees;




PLAINTIFFS’’ O
PLAINTIFFS     RIGINAL P
             ORIGINAL   ETITION
                       PETITION                                                          Page 12 of
                                                                                                 0f 13
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 15 of 34 PageID #: 23



        8)
        8) Costs of suit;

        9)
        9) Such other and further relief to which Plaintiffs may be justly entitled.
                                                             may be




                                              Respectfully Submitted,


                                                   377      7614‘;
                                              By: _______________________________
                                                  Shaun W. Hodge
                                                  Texas Bar No. 24052995
                                                  The Hodge Law Firm, PLLC
                                                  Old Galveston Square Building
                                                  2211
                                                  2211 Strand, Suite 302
                                                  Galveston, Texas 77550
                                                  Telephone: (409)
                                                              (409) 762-5000
                                                  Facsimile: (409)
                                                             (409) 763-2300
                                                  Email: shodge@hodgefirm.com
                                                         shodge@hodgeﬁrm.com

                                              ATTORNEY FOR PLAINTIFFS
                                                           PLAINTIFF S




PLAINTIFFS’’ O
PLAINTIFFS     RIGINAL P
             ORIGINAL   ETITION
                       PETITION                                                        Page 13 of
                                                                                               0f 13
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                                                                                                       FILED: 8/28/2017
                                                                                                               8/28/2017 12:00 AM
               Case 4:17-cv-00715-ALM Document       C IVIL C
                                                      CIVIL  CASE2 IINFORMATION
                                                               ASE   Filed 10/18/17S
                                                                     NFORMATION       HEET
                                                                                     SHEET
                                                                                         Page 16 ofSHERRI34 PageID
                                                                                                       SHERRI           #: 24
                                                                                                                ADELSTEIN
                                                                                                                ADELSTEIN
                                                   17-7094-393                                         Denton
                                                                                                       Dentor} County  District Clerk
             CAUSE N
             CAUSE  UMBER ((FOR
                   NUMBER   FOR CLERK USE ONLY ): _______________________________
                                          ONLY):                                  COURT ((FOR
                                                                                  COURT   FOR CLERK
                                                                                              CLERK USE ONLY): ______________________
                                                                                                    USWId/é.                                         By: Cameron Welter,
                                                                                                                                                                  ,   n
                                                                                                                                                                         Deputy
                                                                                                                                                                         B

                  SSTYLED
                           Valleyridge Square, LLC v. Seneca Insurance Company,
                                                                           Company, Inc.
                    TYLED ___________________________________________________________________________________________________
                                  (e.g.,
                                  (e.g., John Smith v.
                                                    v. All American Insurance Co;
                                                                              Co; In re
                                                                                     re Mary Ann Jones;
                                                                                                 Jones; In the Matter of the Estate of
                                                                                                                      ofthe            George Jackson)
                                                                                                                                    ofGeorge  Jackson)
A civil case
        case information sheet must be
                                    be completed and submitted when an original petition or application is filed
                                                                                                           ﬁled to initiate aa new civil, family law, probate,
                                                                                                                                                      probate, or mental
                                                                                                                                                                  mental
health case
       case or when a
                    a post-judgment petition for modification
                                                 modiﬁcation or motion for enforcement is filed
                                                                                          ﬁled in aa family law case.
                                                                                                                 case. The information should be be the
                                                                                                                                                    the best
                                                                                                                                                        best available at
the time of filing.
         ofﬁling.
1.
1. Contact information for person completing case
                                             case information sheet:                     Names of parties in case:
                                                                                                             case:                                    Person or entity completing sheet is:
                                                                                                                                                       Attorney for Plaintiff/Petitioner
                                                                                                                                                     gAttomey
Name:
Name:                                      Email:
                                           Email:                                        Plaintiff(s)/Petitioner(s):
                                                                                         Plaintiff(s)/Petitioner(s):                                    Pro Se
                                                                                                                                                             Se Plaintiff/Petitioner
 Shaun
 Shaun W. Hodge                             shodge@hodgefirm.com
                                            shodge@hodgeﬁrm.com                          Valleyridge Square, LLC                                        Title IV-D Agency
                                                                                                                                                      EITitle
_____________________________              ____________________________                  _________________________________                              Other: _________________________
                                                                                                                                                      DOtherL

Address:                                   Telephone:
                                           Telephone:                                    _________________________________
 2211
 2211 The Strand, Suite 302 (409)
                            (409) 762-5000                                                                                                           Additional Parties in Child Support Case:
                                                                                                                                                                                         Case:
_____________________________

City/State/Zip:
Galveston, Texas 77550
_____________________________
                                           ____________________________

                                           Fax:
                                           Fax:

                                            (409) 763-2300
                                            (409)
                                           ____________________________
                                                                                         Defendant(s)/Respondent(s):
                                                                                         Defendant(s)/Respondent(s)z

                                                                                          Seneca Insurance Company,
                                                                                         _________________________________

                                                                                         _________________________________
                                                                                                                                                     Inc.—
                                                                                                                                                     Custodial
                                                                                                                                                     Custodial Parent:

                                                                                                                                                     Inc.
                                                                                                                                                               Parent:
                                                                                                                                                     _________________________________

                                                                                                                                                     Non-Custodial
                                                                                                                                                     Non-Custodial Parent:
                                                                                                                                                                   Parent:
                                                                                                                                                     _________________________________
Signature:
Si gnature:                                State Bar No:
                                                     No:
              :                            24052995                                      _________________________________                           Presumed Father:
_____________________________              ____________________________                                                                              _________________________________
                                                                                         [Attach
                                                                                         [Anach additional  page as
                                                                                                 addi‘innal page as necessary to
                                                                                                                              m list
                                                                                                                                 lis‘ all panies]
                                                                                                                                          parties]

2. Indicate case type,                                                               I):
                 type, or identify the most important issue in the case (select only 1):
                                                        Civil                                                                                               Family Law
                                                                                                                                                                   Post-judgment Actions
            Contract                       Injury or Damage                             Real Property                        Marriage Relationship                    (non-Title IV-D)
Debt/Contract                          Assault/Battery
                                     DAssault/Battery                               Eminent Domain/
                                                                                  [Eminent                                     Annulment
                                                                                                                            DAnnulment                             Enforcement
                                                                                                                                                                 DEnforcement
      Consumer/DTPA
   DConsumer/DTPA                      Construction
                                     DConstruction                                   Condemnation                              Declare Marriage Void
                                                                                                                            DDeclare                               Modification—Custody
                                                                                                                                                                 DModiﬁcationACustody
      Debt/Contract
   DDebUContract                       Defamation
                                     DDefamation                                    Partition
                                                                                  DPartition                                Divorce                              DModiﬁcationiOther
                                                                                                                                                                   Modification—Other
      Fraud/Misrepresentation
   DFraud/Misrepresentation          Malpractice                                    Quiet Title
                                                                                  DQuiet                                         With Children
                                                                                                                               DWith                                     Title IV-D
      Other Debt/Contract:
   DOther   Debt/Contract:                Accounting
                                       DAccounting                                  Trespass to Try Title
                                                                                  EITrespass                                     No Children
                                                                                                                               EINo                                Enforcement/Modification
                                                                                                                                                                 DEnforcement/Modiﬁcation
      ____________________                Legal
                                       EILegal                                      Other Property:
                                                                                  DOther   Property:                                                               Paternity
                                                                                                                                                                 DPatemity
Foreclosure                               Medical
                                       DMedical                                      ____________________                                                          Reciprocals (UIFSA)
                                                                                                                                                                 DReciprocals  (UIFS A)
      Home Equity—Expedited
   [Home    EquityiExpedited              Other Professional
                                       DOther                                                                                                                      Support Order
                                                                                                                                                                 DSupport
      Other Foreclosure
   DOther   Foreclosure                   Liability:
                                          Liability:
  Franchise
DFranchise                                _______________                            Related to Criminal
  Insurance
    nsurance                           Motor Vehicle Accident
                                     EIMotor                                                Matters                             Other Family Law
                                                                                                                                               Law                 Parent-Child
                                                                                                                                                                   Parent-Child Relationship
  Landlord/Tenant
Elandlord/Tenant                       Premises
                                     DPremises                                      Expunction
                                                                                  DExpunction                                  Enforce Foreign
                                                                                                                             DEnforce                               Adoption/Adoption with
                                                                                                                                                                  DAdoption/Adoption
  Non-Competition
EINon-Competition                    Product Liability                              Judgment Nisi
                                                                                  DJudgment   NiSi                             Judgment                             Termination
  Partnership
DPartnership                           E] Asbestos/Silica                           Non-Disclosure
                                                                                  EINon-Disclosure                             Habeas Corpus
                                                                                                                             DHabeas                                Child Protection
                                                                                                                                                                  DChild
  Other Contract:
DOther   Contract:                        Other Product Liability
                                       DOther                                       Seizure/Forfeiture
                                                                                  DSeizure/Forfeiture                          Name Change
                                                                                                                             EIName                                 Child Support
                                                                                                                                                                  DChild  SUpport
    ______________________                List Product:
                                               Product:                           DWrit             Corpusi
                                                                                         of Habeas Corpus—
                                                                                    Writ of                                    Protective Order
                                                                                                                             [Protective                            Custody or Visitation
                                                                                                                                                                  DCustody
                                          _________________                         Pre-indictment                             Removal of
                                                                                                                             [Removal    of Disabilities            Gestational Parenting
                                                                                                                                                                  DGestational
                                       Other Injury or Damage:
                                     DOther             Damage;                     Other: _______________
                                                                                  DOther:                                      of
                                                                                                                                of Minority                         Grandparent Access
                                                                                                                                                                  EIGrandparent  Access
                                          _________________                                                                    Other:
                                                                                                                             DOther:                                Parentage/Paternity
                                                                                                                                                                  DParentage/Patemity
                                                                                                                               __________________                   Termination of
                                                                                                                                                                  DTermination   of Parental
         Employment
                                                                              .
                                                                    Other Civil
                                                                          C1v1l
                                                                                   .                                                                               Rights
                                                                                                                                                                    Ri hts
         E-mp-loyment
     .   .                                      .   .      .                                   .   .   .
                                                                                                                                                                    Other Parent-Child:
                                                                                                                                                                  DOtEer  Parent-Child:
  Discrimination
DDlscrlmmatlon                            Administrative Appeal
                                       DAdmmlstratlve                                Lawyer Discipline
                                                                                  EILawyer    DISCIplme                                                              _____________________
  Retaliation
DRetaliation                              Antitrust/Unfair
                                       DAntitrust/Unfair                             Perpetuate Testimony
                                                                                  DPerpetuate
  Termination
DTermination                              Competition                             El Securities/Stock
                                                                                     Securities/ Stock
  Workers’ Compensation
DWorkers’                                 Code Violations
                                       DCode                                         Tortious Interference
                                                                                  EITortious
  Other Employment:
DOther                                    Foreign Judgment
                                       DForeign                                      Other: _______________
                                                                                  DOther:
   ______________________              E] Intellectual Property

              Tax                                                                                  Probate & Mental Health
   Tax Appraisal
 EITax                                 Probate/Wills/Intestate Administration
                                                               Administration                                          Guardianship—Adult
                                                                                                                     EIGuardianshipiAdult
   Tax Delinquency
 DTax                                       Dependent Administration
                                         DDependent                                                                    Guardianship—Minor
                                                                                                                     EIGuardianshipiMinor
   Other Tax
 DOther  Tax                             El Independent Administration                                                 Mental Health
                                                                                                                     DMental
                                            Other Estate Proceedings
                                         DOther                                                                     DOther:
                                                                                                                        Other: ____________________

3. Indicate procedure
             procedure or remedy, if applicable (may(may select   more than
                                                           selectmnre   than 1):
                                                                               I):
    Appeal from Municipal or Justice Court
 DAppeal                                                           Declaratory Judgment
                                                                DDeclaratory                                              El Prejudgment Remedy
                                                                                                                                          Remedy
    Arbitration-related
 DArbitration-related                                              Garnishment
                                                                E‘Gamishment                                              El Protective Order
    Attachment
 DAttachment                                                    El Interpleader                                           El Receiver
 [Bill
    Bill of Review                                                 License
                                                                EILicense                                                 El Sequestration
    Certiorari
 EICertiorari                                                      Mandamus
                                                                DMandamus                                                    Temporary Restraining Order/Injunction
                                                                                                                          DTemporary               Order/ Injunction
    Class Action
 DClass                                                            Post-judgment
                                                                DPost-judgment                                            El Turnover
4.
4. Indicate damages sought (do              ifit isis aa family
                             (do not select if           family law case):
                                                                     case):
    Less than $100,000, including damages of
 EILess                                     of any
                                               any kind, penalties, costs,
                                                                        costs, expenses,
                                                                               expenses, pre-judgment interest, and attorney fees
                                                                                                                             fees
    Less than $100,000 and non-monetary relief
 DLess                                    relief
    Over $100, 000 but not more than $200,000
 DOver
    Over $200,000 but not more than $1,000,000
 gOver
    Over $1,000,000
                                                                                                                                                                                   Rev 2/13
                                                                                                                                                                                       2/13
                                                                                                             FILED:
                                                                                                             FILED: 8/28/2017
                                                                                                                    8/28/2017 12:00 AM
           Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 17 ofSHERRI
                                                                       34 PageID
                                                                      SHERRI        #: 25
                                                                             ADELSTEIN
                                                                             ADELSTEIN
                                   CIVIL PROCESS REQUEST             Denton County District Clerk
                                                                                                             By:
                                                                                                             By: Cameron
                                                                                                                 Cameron Welter, Deputy

                             FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                            FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED


CASE NUMBER:                  17-7094-393
                          __l7_-7_024;3_9§                           CURRENT COURT:
                                                                                 Plaintiff's
                                                                                 Plaintiff‘s Original
                                                                                             Original Petition
                                                                                                      Petition
TYPE OF INSTRUNIENT TO BE SERVED               (See Reverse   For Types):

                                    August
                                    August 28,
                                           28, 2017
                                               2017
FILE DATE OF MOTION:
                                                                            Month/           Day/    Year

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):
1'   NAME;            Seneca
                      Seneca Insurance
                             Insurance Company,
                                       Company, Inc.Inc.
     ADDRESS:
                      c/o
                      do Mr.
                          Mr. James
                              James Isbell,
                                    Isbell, 11 Riverway,
                                               Riverway, Suite
                                                         Suite 1400,
                                                               1400, Houston,
                                                                     Houston, Texas
                                                                              Texas 77056-1988
                                                                                    77056-1988

     AGENT, (lfapplicable):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type):
     SERVICE BY (check ane):
        El ATTORNEY PICK-UP                              El CONSTABLE
        El CIVIL  PROCESS    SERVER - Authorized Person to Pick-up:                         _________              Phone:
        El MAIL                                                      E
                                                              CERTIFIED MAIL
          El PUBLICATION:
              Type of Publication:         D    COURTHOUSE DOOR, or
                                           D    NEWSPAPER OF YOUR CHOICE:
          El     OTHER, explain

M:M:M:M:*a:>x<4:>x<**4:M:>x<*>x<*>x<*********************************>x<4:>x<4:>x<4:>x<a:**>x<*>x<*********************************

****

2.   NAME:
     ADDRESS:

     AGENT, (ifapplicab/e):
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type):
     SERVICE BY (check one):
        El ATTORNEY PICK-UP                                          El CONSTABLE
          El CIVIL PROCESS SERVER - Authorized Person to Pick-up:                           _________               Phone:

          El MAIL                                                    El CERTIFIED MAIL
          El PUBLICATION:
              Type of Publication:         D    COURTHOUSE DOOR, 01'
                                           D    NEWSPAPER OF YOUR CHOICE:
          El OTHER, explain


ATTORNEY (OR ATTORNEY'S AGENT) REQUESTING SERVICE:
NAME:
           Shaun
           Shaun W.
                 W' Hodge
                    HOdge
                                                                                TEXAS BAR NO./ID NO.
                                                                                                         24052995
                                                                                                        3952995
MAILING ADDRE85:
                             Hodge
                             Hodge Law
                                   Law Firm,
                                       Firm, PLLC,
                                             PLLC, 2211
                                                   2211 Strand,
                                                        Strand, Suite
                                                                Suite 302,
                                                                      302, Galveston,
                                                                           Galveston, Texas
                                                                                      Texas 77550
                                                                                            77550

PHONE NUMBER:
                           (409)
                           (409)             762-5000
                                             762'5000                                  FAX NUMBER;   (409)
                                                                                                     (409)         763-2300
                                                                                                                   763-2300
                             area code             phone number                                      area code         fax number

EMAIL ADDRESS:
                            shodge@hodgefirm.com
                            shodge@hodgeﬁrm.com



                                                                    Page    1   of 2
r‘nn‘lnv swam:   nm Inn
           Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 18 of 34 PageID #: 26
   SERVICE REQUESTS WHICH CANNOT BE PROCESSED BY THIS OFFICE WILL BE HELD FOR 30 DAYS PRIOR TO
   CANCELLATION. FEES WILL BE REFUNDED ONLY UPON REQUEST, OR AT THE DISPOSITION OF THE CASE.
   SERVICE REQUESTS MAY BE REINSTATED UPON APPROPRIATE ACTION BY THE PARTIES.




INSTRUMENTS TO BE SERVED:                                                   PROCESS TYPES:
(Fill In Instrument Sequence Number, i.e. lst, 2nd, etc.)
                                                                            NON WRIT:
ORIGINAL PETITION                                                           CITATION
       AMENDED PETITION                                                     ALIAS CITATION
       SUPPLEMENTAL PETITION                                                PLURIES CITATION
                                                                            SECRETARY OF STATE CITATION
                                                                            COMMISSIONER OF INSURANCE
COUNTERCLAIM                                                                HIGHWAY COMMISSIONER
____ AMENDED COUNTERCLAIM                                                   CITATION BY PUBLICATION
  ___ SUPPLEMENTAL COUNTERCLAIM                                             NOTICE
                                                                            SHORT FORM NOTICE
CROSS—ACTION:
           AMENDED CROSS-ACTION                                             PRECEPT (SHOW CAUSE)
           SUPPLEMENTAL CROSS-ACTION                                        RULE 106 SERVICE

THIRD-PARTY PETITION:                                                       SUBPOENA
        AMENDED THIRD—PARTY PETITION
        SUPPLEMENTAL THIRD—PARTY PETITION                                   WRITS:
                                                                            ATTACHMENT (PROPERTY)
INTERVENTION:                                                               ATACHMENT (WITNESS)
 ____ AMENDED INTERVENTION                                                  ATTACHMENT (PERSON)
       SUPPLEMENTAL INTERVENTION

INTERPLEADER                                                                CERTIORARI
       AMENDED INTERPLEADER
        SUPPLEMENTAL FNTERPLEADER                                           EXECUTION
                                                                            EXECUTION AND ORDER OF SALE

                                                                            GARNISHMENT BEFORE JUDGMENT
INJUNCTION                                                                  GARNISHMENT AFTER JUDGMENT
MOTION TO MODIFY
                                                                            HABEAS CORPUS
SHOW CAUSE ORDER                                                            INJUNCTION
                                                                            TEMPORARY RESTRAINING ORDER
TEMPORARY RESTRAINING ORDER

                                                                            PROTECTIVE ORDER (FAMILY CODE)
                                                                            PROTEC | V E ORDER (CIVIL CODE)

BILL OF DISCOVERY:
     ORDER TO:                                                              POSSESSION (PERSON)
                                      (specify)                             POSSESSION (PROPERTY)

     MOTION TO:
                                      (specify)
                                                                            SCIRE FACIAS
                                                                            SEQUESTRATION
                                                                            SUPERSEDEAS




                                                            Page 2   of 2

mwmno D_.,:M,: ma mu
        Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 19 of 34 PageID #: 27




                                                                                                                        \
                                                     Denton County District Clerk

                                             DOCUll/l ENT RECORDS         REQUEST FORM
                   Requesls for copies from case files are
                                                            retained b y (his office and filed in (he
                      This form will be available for
                                                      public Viewa n (he same manner as
                                                                      1'
                                                                                                      requested case.
                                                                                               the case records.

**Pl ease note**: Copies:
                          $1.00 per page Record Search
                                                       performed (Add $5.00)                                            Yes

Your name or Company name:
                                                                  6m:
Today’s Date:
                                                                5/7/21];        ?—
                                                                                                                          Clerkuse
                                                                                                                               only:



Cause Number                            Party Namelsl         Name of Document and datefiled
                                                                                                           Certify?           Pgs
l3:'M‘l~3‘/3                             4/      ~
                                                     J         OKWMxQ/ MiJ-ﬁom
OneCaseNumber
Per page please!
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                                                                                      Total c arged:         $/,5.”
                                                              Completed by Clerk:
     Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 20 of 34 PageID #: 28


                             CITATION BY CERTIFIED MAIL

THE STATE OF TEXAS                                          COUNTY OF DENTON

                               CAUSE NO. 17-7094-393

TO: Seneca Insurance Company, Inc., by serving James lsbell at 1 Riverway,
Suite 1400 Houston TX 77056 (or wherever he/she may be found)

Notice to defendant: You have been sued. You may employ an attorney. If you, or your
attorney, do not ﬁle a written answer with the clerk who issued this citation by 10:00
am. on the first Monday following the expiration of twenty days after you were served
this citation and petition, a defaultjudgment may be taken against you. The nature of
the suit is fully shown by a true and correct copy of the Plaintiff‘s Original Petition
accompanying this citation and made a part hereof.

                   393rd Judicial District Court
 Court''
                   1450 E, McKinney, 4th Floor, Denton, TX 76209
 Cause No.:        17-7094-393
 Date of Filing:   08/28/2017
 Document:         Plaintiff‘s Original Petition
 Parties in              .

                   Valleyridge Square, LLC, Seneca Insurance Company, Inc.
                                          _




 Suit:
                   Sherri Adelstein, District Clerk
 Clerk:'
                   1450 E. McKinney, Surte 1200, Denton, TX 76209
Party or           Shaun W. Hodge
Party’s            2211 Strand, Suite 302
Attorney:          Galveston, Texas 77550


   Issued under my hand and seal of this said court on this the 31st day of August,
201 7
                                                          Sherri Adelstein, District Clerk
                                                         Denton, Dent n County, Texas


                                                 Cameron Welter
       Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 21 of 34 PageID #: 29




                                 Cause No. 17-7094-393

Style: Valleyridge Square, LLC
vs
Seneca Insurance Company, Inc.

                         RETURN OF CITATION BY CERTIFIED MAIL

        Came to hand on 8/31/2017 at 10:00 am. and             I   hereby certify that on 8/31/2017,   I



mailed to Seneca Insurance Company, Inc., by serving James Isbell at               1   Riverway, Suite
1400       Houston TX    77056    by registered mail or certified mail, signature confirmation
requested, a true copy of this citation with a copy of the Plaintiff's Original'Petition attached
thereto.
Restricted Delivery:    No
                                                                  Sherri Adelstein, District Clerk
                                                                          Denton County, Texas
                                                1450 E. McKinney, Suite 1200, Denton, TX 76209
                                                               PO Box 2146, Denton, TX 76202


                                                           ;                 :éameron Welter, Deputy
                                                      E;
Service Fee: $30 00
CERTIFIED MAIL NO.: 9214 8901 0661 5400 0111 8528 46

Signed for on:


By:


Attach tracking history or signature receipt.
         Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 22 of 34 PageID #: 30
SHERRI ADELSTEIN
DENTON COUNTY DISTRICT CLERK
PO BOX 2146
DENTON. TX 76202-2146




                                 9214 8901 0661 5400 0111 8528 46
RETURN RECEIPT (ELECTRONIC)




17-7094-393
MR. JAMES ISBELL
SENECA INSURANCE COMPANY, INC.
1 RIVERWAY STE 1400

HOUSTON, TX 77056-1988




                                                     OUT I FOLD HERE




                                                     6'X9~ ENVELOPE
                                                     CUT I FOLD HERE




                                                      CUT I FOLD HERE




                                                                        IMperIiﬁed8x5LabeI v2017.04.26.92
  Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 23 of 34 PageID #: 31
  ., UNITED STATES
W     POSTAL SERVICE.




Date: September 5, 2017

MAIL MAIL:

The following is in response to your September 5, 2017 request for delivery information
on your Certified MailTM/RRE item number 92148901066154000111852846. The
delivery record shows that this item was delivered on September 5, 2017 at 10:41 am in
HOUSTON, TX 77056. The scanned image of the recipient information is provided
below.

Signature of Recipient:
                           _—_--_~::—_-_—5.~v.—.—-.~1-r.




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                                                           ,Qrm
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                                                                      PICCJoq—iwyﬁ'


Address of Recipient   :            “T"Wv                   '   '     -   ww-x-r- r
                           30»
Thank you for selecting the Postal Service for your mailing needs.

If you require additional assistance, please contact your local Post Office or postal
representative.

Sincerely,
United States Postal Service




The customer reference information shown below is not validated or endorsed by the
United States Postal Service. It is solely for customer use.


                                        Reference ID: 92148901066154000111852846
                                        17-7094-393
                                        MR. JAMES ISBELL
                                        Seneca insurance Company, Inc.
                                        1 Rivervvay Ste 1400

                                        Houston, TX 77056-1988
     Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 24 of 34 PageID #: 32


                             CITATION BY CERTIFIED MAIL

THE STATE OF TEXAS                                         COUNTY OF DENTON

                               CAUSE NO. 17-7094-393

TO: Seneca Insurance Company, Inc., by serving James lsbell at 1 Riverway,
Suite 1400 Houston TX 77056 (or wherever he/she may be found)

Notice to defendant: You have been sued. You may employ an attorney. If you, or your
attorney, do not ﬁle a written answer with the clerk who issued this citation by 10:00
am. on the first Monday following the expiration of twenty days after you were served
this citation and petition, a defaultjudgment may be taken against you. The nature of
the suit is fully shown by a true and correct copy of the Plaintiff‘s Original Petition
accompanying this citation and made a part hereof.

                   393rd Judicial District Court
 Court''
                   1450 E, McKinney, 4th Floor, Denton, TX 76209
 Cause No.:        17-7094-393
 Date of Filing:   08/28/2017
 Document:         Plaintiff's Original Petition
 Parties in              .
                   Valleyridge Square, LLC, Seneca Insurance Company, Inc.
                                          _




 Suit:
                   Sherri Adelstein, District Clerk
 Clerk''
                   1450 E. McKinney, Swte 1200, Denton, TX 76209
Party or           Shaun W. Hodge
Party’s            2211 Strand, Suite 302
Attorney:          Galveston, Texas 77550


   Issued under my hand and seal of this said court on this the 31st day of August,
201 7
                                                         Sherri Adelstein, District Clerk
                                                        Benton, Dent n County, Texas
                                  5
                                                Cameron Welter
       Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 25 of 34 PageID #: 33




                                 Cause No. 17-7094-393

Style: Valleyridge Square, LLC
vs
Seneca Insurance Company, Inc.

                         RETURN OF CITATION BY CERTIFIED MAIL

        Came to hand on 8/31/2017 at 10:00 am. and           I   hereby certify that on 8/31/2017,   I



mailed to Seneca Insurance Company, Inc., by serving James lsbell at             1   Riverway, Suite
1400       Houston TX    77056    by registered mail or certified mail, signature confirmation
requested, a true copy of this citation with a copy of the Plaintiff's Original'Petition attached
thereto.
Restricted Delivery:    No
                                                                  Sherri Adelstein, District Clerk
                                                                          Denton County, Texas
                                                1450 E. McKinney, Suite 1200, Denton, TX 76209
                                                               PO Box 2146, Denton, TX 76202


                                                         E                 :éameron Welter, Deputy
                                                     '
Service Fee: $30 00
CERTIFIED MAIL NO.: 9214 8901 0661 5400 0111 8528 46

Signed for on:


By:


Attach tracking history or signature receipt.
         Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 26 of 34 PageID #: 34
SHERRI ADELSTEIN
DENTON COUNTY DISTRICT CLERK
PO BOX 2146
DENTON. TX 76202-2146




                                 9214 8901 0661 5400 0111 8528 46
RETURN RECEIPT (ELECTRONIC)




17-7094-393
MR. JAMES ISBELL
SENECA INSURANCE COMPANY, INC.
1 RIVERWAY STE 1400

HOUSTON, TX 77056-1988




                                                     OUT I FOLD HERE




                                                     6'X9' ENVELOPE
                                                     CUT I FOLD HERE




                                                     CUT / FOLD HERE




                                                                       lMperﬁﬁed8x5Label v2017.04.26.92
                                                                              FILED:
                                                                              FILED: 9/29/2017
                                                                                     9/29/2017 8:22 AM
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 27 ofSHERRI
                                                             34 PageID
                                                            SHERRI      #: 35
                                                                   ADELSTEIN
                                                                   ADELSTEIN
                                                                              Denton County District Clerk
                                                                              By:
                                                                              By: Mark Yarbrough,
                                                                                       Yarbrough, Deputy


                                    CAUSE NO. 17-7094-393

VALLEYRIDGE SQUARE, LLC                          §                  IN THE DISTRICT COURT OF
          Plaintiff
          Plaintiff                              §
                                                 §
                                                 §
                                                 §
                                                 mammamamamamcmam




                                                                      393rd JUDICIAL DISTRICT
                                                 §
                                                 §
SENECA INSURANCE COMPANY                         §
           Defendant                             §                    DENTON COUNTY, TEXAS

               SENECA INSURANCE COMPANY’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant Seneca Insurance Company (“Seneca”) files
                                                     ﬁles this Original Answer and General

Denial to Plaintiff’s
          Plaintiff’ 5 Original Petition and would respectfully show as
                                                                     as follows:


                                            I.
                                      GENERAL DENIAL

       Defendant asserts
                 asserts aa general denial as
                                           as authorized by
                                                         by Rule 92 of the Texas Rules of Civil

Procedure and respectfully requests that Plaintiff be required to prove the charges and allegations

made against it by
                by aa preponderance of the evidence as
                                                    as is required by the Constitution and laws of


the State of Texas.

                                          II.
                               FAILURE TO STATE A CLAIM

       Defendant asserts
                 asserts that Plaintiff’s Original Petition fails to state claims upon which relief

can be granted. Specifically,
                Speciﬁcally, Plaintiff’s
                              Plaintiff’ s claims for violations
                                                      Violations of the common law and statutory

duties of good faith and fair dealing do not exist as
                                                   as a
                                                      a matter of law. The same is true of its


claims for violations
           Violations of the Texas Insurance Code and DTPA.
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 28 of 34 PageID #: 36



                                              III.
                                            PRAYER

        WHEREFORE, Defendant Seneca Insurance Company requests that Plaintiff take

nothing by her claims and that it be granted any
                                             any and all other relief to which they may show itself

justly entitled.

                                             Respectfully submitted,

                                             THOMPSON COE COUSINS & IRONS, LLP

                                             By:     /s/    James N.
                                                            James N. Isbell
                                                   JJAMES
                                                     AMES NN.. IISBELL
                                                                 SBELL
                                                   State Bar No. 10431900
                                                                      10431900
                                                   E-Mail:
                                                    E-Mail: jisbell@thompsoncoe.com
                                                   C  HRISTOPHER H. A
                                                    CHRISTOPHER          VERY
                                                                        AVERY
                                                   State Bar No. 24069321
                                                                     24069321
                                                   E-Mail:
                                                    E-Mail: cavery@thompsoncoe.com
                                                              caveﬂgﬁlthompsoncoecom
                                                   SSAIRA
                                                     AIRA S.
                                                           S. S  IDDIQUI
                                                               SIDDIQUI
                                                   State Bar No. 24093147
                                                   E-Mail:
                                                    E-Mail: ssiddiqui@thompsoncoe.com
                                                              ssiddigui@thompsoncoe.com
                                                   Thompson, Coe,  Coe, Cousins & Irons,
                                                                                  lrons, LLP
                                                   One Riverway, Suite 1400 1400
                                                   Houston, TX 77056
                                                   Telephone:
                                                    Telephone: (713)
                                                                   (713) 403-8210
                                                   Fax: (713)
                                                          (713)   403-8299

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this, the 29th day   day of September, 2017, aa true and correct
copy
copy of the foregoing document was
                                 was duly served on all known counsel of record viaVia electronic
transmission, pursuant to Texas Rules of Civil
                                         CiVil Procedure and applicable Local Rules, as
                                                                                      as follows:


        Shaun Hodge
        The Hodge Law Firm, PLLC
        Old Galveston Square Building
        2211
        2211 Strand, Suite 302
        Galveston, Texas 77550
        Via
        Via Email: shodgegEhodgeemcom
                   shodge@hodgefirm.com


                                             /s/     Saira Siddiqui
                                                           Siddigui
                                             Saira S.
                                                   S. Siddiqui
                                                                                               FILED:
                                                                                               FILED: 10/5/2017
                                                                                                      10/5/2017 6:30 PM
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 29 ofSHERRI
                                                             34 PageID
                                                            SHERRI      #: 37
                                                                   ADELSTEIN
                                                                   ADELSTEIN
                                                                                               Denton County District Clerk
                                                                                               By:
                                                                                               By: Shelley Mccutcheon,
                                                                                                           Mccutcheon, Deputy


                                      CAUSE NO. 17-7094-393
                                                17-7094-393

VALLEYRIDGE SQUARE, LLC                           §                             IN THE DISTRICT COURT
                                                  §
         Plaintiff                                §
                                                  §
v.
V.                                                §
                                                  (OJCOJCOJCOJOOJOOJCOJCOJCOJ


                                                                                DENTON COUNTY, TEXAS
                                                  §
SENECA INSURANCE COMPANY,                         §
                                                  §
                                                                                    RD
         Defendant                                §                             393
                                                                                393RD  JUDICIAL DISTRICT

                          NOTICE OF REMOVAL OF CIVIL ACTION
                     TO THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TEXAS (SHERMAN DIVISION)

TO THE HONORABLE COURT:

         On or about October 5,
                             5, 2017, Seneca Insurance Company,
                                                       Company, filed its Notice of Removal in

the United States
           States District Court for the Eastern District of Texas (Sherman Division). The

Notice of Removal effects the removal, and the state court shall proceed no further unless and

until the case
          case is
               is remanded. 28 U.S.C. §1446(d).
                                      §1446(d). The Notice of Removal is attached as
                                                                                  as Exhibit


“A.”
“A.”

                                                 Respectfully Submitted,
                                                 By: /5/
                                                       /s/ Christopher H.
                                                                       H. Avery
                                                     James N.
                                                            N. Isbell
                                                     Attorney-in-Charge
                                                     Bar No. 10431900
                                                                10431900
                                                     jisbell@thompsoncoe.com
                                                     Christopher H. Avery
                                                     Bar No. 24069321
                                                              24069321
                                                     cavery@thompsoncoe.com
                                                     caver     thom soncoe.com
                                                 T HOMPSON, C
                                                 THOMPSON,       OE, C
                                                              COE,    OUSINS & IIRONS,
                                                                     COUSINS     RONS, LLP
                                                 One Riverway, Suite 1400
                                                                        1400
                                                 Houston, Texas 77056
                                                 (713)
                                                 (713) 403-8210
                                                 (713)
                                                 (713) 403-8299 – Fax              ,
                                                 COUNSEL FOR DEFENDANT,
                                                 SENECA INSURANCE COMPANY



N OTICE OF R
NOTICE       EMOVAL OF C
           REMOVAL       IVIL A
                       CIVIL          –P
                                CTION —
                              ACTION     AGE 1
                                        PAGE 1
2837942v1
2837942vl
01446.115
01446.1 15
 Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 30 of 34 PageID #: 38



                                  CERTIFICATE OF SERVICE

        This is
             is to certify that on October 5,5, 2017, aa true and correct copy
                                                                          copy of the above and
foregoing instrument has    been forwarded via
                        has been              Via electronic notice and/or
                                                                     and/0r certified
                                                                            certiﬁed mail, return
receipt requested, to plaintiff’s counsel of record Shaun Hodge, The Hodge Law Firm,  F irm, PLLC,
Old Galveston Square Building, 2211
                                  2211 Strand, Suite 302,
                                                     302, Galveston, Texas 77550.


                                                 /s/ Christopher H.
                                                                 H. Avery
                                                 Christopher H. Avery




N OTICE OF R
NOTICE       EMOVAL OF C
           REMOVAL       IVIL A
                       CIVIL          –P
                                CTION —
                              ACTION     AGE 2
                                        PAGE 2
2837942v1
2837942vl
01446.115
01446.1 15
  Case 4:17-cv-00715-ALM Document 2 Filed 10/18/17 Page 31 of 34 PageID #: 39


      Case 4:17-cv-00715 Document 11 Filed 10/05/17 Page 11 of 4 PageID #: 11



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

VALLEYRIDGE SQUARE, LLC                            §
                                                   §
       Plaintiff
       Plaintiff                                   §
                                                   §
                                                   §
                                                   mammamamamamcmam




                                                                       Civil Action No.
                                                   §
SENECA INSURANCE COMPANY                           §
                                                   §
       Defendant                                   §

                           DEFENDANT’S NOTICE OF REMOVAL

TO
TO THE
   THE HONORABLE
       HONORABLE UNITED
                 UNITED STATES
                        STATES DISTRICT
                               DISTRICT JUDGE:
                                        JUDGE:

       Pursuant
       Pursuant to
                to 28
                   28 U.S.C.
                      U.S.C. §§1441
                             §§1441 and
                                    and 1446,
                                        1446, Defendant
                                              Defendant Seneca
                                                        Seneca Insurance
                                                               Insurance Company
                                                                         Company

(“Seneca”)
(“Seneca”) files
           ﬁles this
                 this Notice
                      Notice of
                             of Removal
                                Removal on
                                        on the
                                           the basis
                                               basis of
                                                     of diversity
                                                        diversity of
                                                                  of citizenship
                                                                     citizenship and jurisdictional
                                                                                 and jurisdictional

amount,
amount, and
        and respectfully
            respectfully shows
                         shows the
                               the Court
                                   Court the
                                         the following:
                                             following:

                                     REMOVAL IS TIMELY

       1.
       1.      Seneca
               Seneca is
                      is a
                         a Defendant
                           Defendant in
                                     in Cause
                                        Cause No.
                                              No. 17-7094-393,
                                                  17-7094-393, filed
                                                               ﬁled in
                                                                     in the
                                                                        the 393rd
                                                                            393rd Judicial
                                                                                  Judicial District
                                                                                           District

Court
Court of
      of Denton
         Denton County,
                County, Texas,
                        Texas, styled
                               styled Valleyridge
                                      Valleyridge Square,
                                                  Square, LLC v.
                                                              v. Seneca Ins. Co. Plaintiff
                                                                        Ins. Co. Plaintiff

commenced
commenced this
          this civil
               ciVil action
                     action against
                            against Seneca
                                    Seneca in
                                           in the
                                              the state
                                                  state court
                                                        court on
                                                              on or
                                                                 or about
                                                                    about August
                                                                          August 28,
                                                                                 28, 2017.
                                                                                     2017. Seneca
                                                                                           Seneca

was first
was ﬁrst served
          served with
                 with Plaintiff’s
                      Plaintiff’s Original
                                  Original Petition
                                           Petition (the
                                                    (the “Petition”)
                                                         “Petiti0n”) on
                                                                     on September
                                                                        September 5,
                                                                                  5, 2017.
                                                                                     2017.

       2.
       2.      Therefore,
               Therefore, service
                          service of
                                  of process
                                     process in
                                             in this
                                                this cause
                                                     cause was
                                                           was served
                                                               served on
                                                                      on Seneca
                                                                         Seneca not
                                                                                not more
                                                                                    more than
                                                                                         than

thirty
thirty (30)
       (30) days before the
            days before the filing
                            ﬁling of
                                   of this
                                      this notice,
                                           notice, and
                                                   and this Notice of
                                                       this Notice of Removal
                                                                      Removal is
                                                                              is being
                                                                                 being filed within
                                                                                       ﬁled Within

one
one year
    year of
         of the
            the date
                date suit was first
                     suit was ﬁrst filed
                                    ﬁled in
                                         in state
                                            state court.
                                                  court.

                                     BASIS FOR REMOVAL

       3.
       3.       Removal
                Removal is
                        is proper based upon
                           proper based upon diversity
                                             diversity of
                                                       of citizenship
                                                          citizenship under
                                                                      under 28
                                                                            28 U.S.C.
                                                                               U.S.C. §§
                                                                                      §§ 1332(a),
                                                                                         1332(a),

1441(a)
1441(a) and
        and 1446.
            1446.


                                                                                             EXHIBIT
                                                                                             EXHIBITAA
 CaseCase
      4:17-cv-00715-ALM
          4:17-cv-00715 Document
                        Document112 Filed
                                     Filed10/05/17
                                           10/18/17 Page
                                                     Page2
                                                         232
                                                           of of
                                                              4 PageID
                                                                 34 PageID
                                                                        #: 2
                                                                           #: 40
                                                                           2




A.      There is Complete Diversity

        4.
        4.     In
               In its
                  its Original
                      Original Petition,
                               Petition, Plaintiff
                                         Plaintiff Valleyridge
                                                   Valleyridge Square,
                                                               Square, LLC
                                                                       LLC acknowledges
                                                                           acknowledges that
                                                                                        that it
                                                                                             it is
                                                                                                is

aa Texas
   Texas limited
         limited liability
                 liability companies with their
                           companies with their principal
                                                principal places
                                                          places of business in
                                                                 of business in Dallas
                                                                                Dallas County,
                                                                                       County,

Texas.
Texas. (Pl.’s
       (Pl.’s Orig.
              Orig. Pet.
                    Pet. at para. 2)
                         at para. 2)

        5.
        5.     Both
               Both at
                    at the
                       the time
                           time the
                                the lawsuit was originally
                                    lawsuit was originally filed,
                                                           filed, and
                                                                  and at
                                                                      at the
                                                                         the time
                                                                             time of
                                                                                  of removal,
                                                                                     removal,

Defendant
Defendant Seneca
          Seneca is
                 is aa corporation
                       corporation incorporated
                                   incorporated and
                                                and existing under the
                                                    existing under the laws
                                                                       laws of New York,
                                                                            of New York,

keeping
keeping its principal place
        its principal place of business in
                            of business    New York.
                                        in New York.

B.      The Amount in Controversy Exceeds $75,000.00

        6.
        6.     This
               This is
                    is a
                       a civil
                         civil action
                               action in which the
                                      in which the amount
                                                   amount in
                                                          in controversy
                                                             controversy exceeds
                                                                         exceeds the jurisdictional
                                                                                 the jurisdictional

limits
limits of
       of $75,000.00.
          $75,000.00. In
                      In determining
                         determining the
                                     the amount
                                         amount in
                                                in controversy,
                                                   controversy, the
                                                                the Court
                                                                    Court may
                                                                          may consider,
                                                                              consider,

“penalties,
“penalties, statutory
            statutory damages,
                      damages, and
                               and punitive
                                   punitive damages.”
                                            damages.” St Paul Reinsurance Co,
                                                                          Co, Ltd v Greenberg,

134
134 F.3d
    F.3d 1250,
         1250, 1253
               1253 (5th
                    (5th Cir.
                         Cir. 1998);
                              1998); see                  Lloyds, 1999
                                         Ray v State Farm Lloyds,
                                     see Ray                      1999 WL
                                                                       WL 151667,
                                                                          151667, at
                                                                                  at *2
                                                                                     *2 -- 33

(N.D.
(ND. Tex.
      Tex. 1999)
           1999) (finding
                 (ﬁnding sufficient
                          sufficient amount
                                     amount in
                                            in controversy
                                               controversy in plaintiff's case
                                                           in plaintiff's case against
                                                                               against the
                                                                                       the insurer
                                                                                           insurer

for breach of
for breach of contract, bad faith,
              contract, bad        violations of
                            faith, Violations of the
                                                 the Texas
                                                     Texas Insurance
                                                           Insurance Code
                                                                     Code and
                                                                          and Texas
                                                                              Texas Deceptive
                                                                                    Deceptive

Trade
Trade Practices
      Practices Act
                Act and
                    and mental
                        mental anguish).
                               anguish). Plaintiff
                                         Plaintiff alleges
                                                   alleges that
                                                           that Seneca
                                                                Seneca is
                                                                       is liable
                                                                          liable under
                                                                                 under common
                                                                                       common

law
law claims
    claims for
           for breach
               breach of
                      of contract
                         contract and violations of
                                  and Violations of §542
                                                    §542 of
                                                         of the
                                                            the Texas
                                                                Texas Insurance
                                                                      Insurance Code
                                                                                Code and
                                                                                     and seeks
                                                                                         seeks

to
to recover
   recover actual
           actual damages,
                  damages, consequential
                           consequential damages,
                                         damages, prejudgment
                                                  prejudgment interest,
                                                              interest, additional
                                                                        additional statutory
                                                                                   statutory

damages, post-judgment interest,
damages, post-judgment interest, and
                                 and reasonable
                                     reasonable and
                                                and necessary
                                                    necessary attorneys’
                                                              attorneys’ fees.
                                                                         fees.          Plaintiff’s
                                                                                        Plaintiff’ 5

Original
Original Petition
         Petition also
                  also indicates
                       indicates that
                                 that Plaintiff
                                      Plaintiff seeks
                                                seeks between
                                                      between $200,000
                                                              $200,000 and
                                                                       and $1,000,000.
                                                                           $1,000,000. (Pl.’s
                                                                                       (PL’S

Orig.
Orig. Pet.
      Pet. at para. 4).
           at para. 4). Thus,
                        Thus, the
                              the amount
                                  amount in
                                         in controversy
                                            controversy clearly
                                                        clearly exceeds
                                                                exceeds $75,000.
                                                                        $75,000.

        7.
        7.     Accordingly, by Virtue
               Accordingly, by virtue of
                                      of diversity
                                         diversity of
                                                   of citizenship
                                                      citizenship the
                                                                  the United
                                                                      United States
                                                                             States district
                                                                                    district courts
                                                                                             courts

have
have original jurisdiction.
     original jurisdiction.




                                                2
2837122v1
2837122vl
01446.115
01446.115
 CaseCase
      4:17-cv-00715-ALM
          4:17-cv-00715 Document
                        Document112 Filed
                                     Filed10/05/17
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                                                              4 PageID
                                                                 34 PageID
                                                                        #: 3
                                                                           #: 41
                                                                           3




                       STATE COURT DOCUMENTS BEING FILED

        8.
        8.      Pursuant
                Pursuant to
                         to 28
                            28 U.S.C.§1446(a),
                               U.S.C.§1446(a), attached
                                               attached hereto
                                                        hereto as
                                                               as Exhibit “A” is
                                                                  Exhibit “A” is the
                                                                                 the Index
                                                                                     Index of
                                                                                           of

Matters
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                                                                            date the
                                                                                 the document
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was filed
was ﬁled in
          in state
             state court.
                   court. Attached
                          Attached hereto
                                   hereto as
                                          as Exhibit “B” is
                                             Exhibit “B” is the
                                                            the Designation
                                                                Designation of
                                                                            of Counsel
                                                                               Counsel          The
                                                                                                The

docket
docket sheet,
       sheet, and
              and all
                  all documents
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                                         the state
                                             state court
                                                   court action
                                                         action have
                                                                have been
                                                                     been requested
                                                                          requested and will be
                                                                                    and Will be

supplemented.
supplemented.

                                             PRAYER

                   based upon
        WHEREFORE, based upon 28
                              28 U.S.C.
                                 U.S.C. §§1441
                                        §§ 1441 and
                                                and 1446,
                                                    1446, Seneca
                                                          Seneca respectfully
                                                                 respectfully requests
                                                                              requests that
                                                                                       that

this
this action be removed
     action be removed to
                       to the
                          the United
                              United States
                                     States District
                                            District Court
                                                     Court for
                                                           for the Northern District
                                                               the Northern District of
                                                                                     of Texas,
                                                                                        Texas, Dallas
                                                                                               Dallas

Division,
Division, and
          and that
              that it be granted
                   it be granted such
                                 such other
                                      other and
                                            and further
                                                further relief
                                                        relief to
                                                               to which
                                                                  which it
                                                                        it may
                                                                           may show
                                                                               show itself justly
                                                                                    itself justly

entitled.
entitled.

                                              Respectfully
                                              Respectfully submitted,
                                                           submitted,
                                              THOMPSON,
                                              THOMPSON, COE,
                                                        COE, COUSINS
                                                             COUSINS &
                                                                     & IRONS,
                                                                       IRONS, L.L.P.
                                                                              L.L.P.

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                                                       FOR DEFENDANT,
                                                           DEFENDANT,
                                              SENECA
                                              SENECA INSURANCE
                                                     INSURANCE COMPANY
                                                                COMPANY




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                                CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that
                         that aa true
                                 true and
                                      and correct
                                          correct copy
                                                  copy of
                                                        of the
                                                           the foregoing
                                                               foregoing instrument
                                                                          instrument was
                                                                                     was served via
                                                                                         served Via
the
the Court’s
    Court’s electronic
            electronic notification
                       notiﬁcation system
                                     system on
                                            on the
                                               the following
                                                   following counsel
                                                              counsel of
                                                                      of record:
                                                                         record:

        Shaun
        Shaun Hodge
               Hodge
        T HE H
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             HODGE    AW F
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                           FIRM, PLLC
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        Old Galveston
             Galveston Square
                       Square Building
                               Building
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                                             /s/ Christopher H.
                                             /s/             H. Avery
                                             Christopher  H. Avery
                                             Christopher H. Avery




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